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                         UNITED STATES DISTRICT COURT
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                       CENTRAL DISTRICT OF CALIFORNIA
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11                                             Case No. 8:19-cv-01174-SVW-KES
     SECURITIES AND EXCHANGE
12   COMMISSION,                           FINAL JUDGMENT AS TO
                                           DEFENDANT NTV FINANCIAL
13               Plaintiff,                GROUP, INC.
14         vs.
15   RICHARD VU NGUYEN, A/K/A
16   NGUYEN THANH VU, and NTV
     FINANCIAL GROUP, INC.,
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                 Defendants,
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     and
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20   MAI DO,

21               Relief Defendant.
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1                       FINAL JUDGMENT AS TO DEFENDANT
2                               NTV FINANCIAL GROUP, INC.
3          The Securities and Exchange Commission having filed a Complaint and
4    Defendant NTV Financial Group, Inc. (“Defendant”) having entered a general
5    appearance; consented to the Court’s jurisdiction over Defendant and the subject
6    matter of this action; consented to entry of this Final Judgment without admitting
7    or denying the allegations of the Complaint (except as to jurisdiction and except as
8    otherwise provided herein); waived findings of fact and conclusions of law; and
9    waived any right to appeal from this Final Judgment:
10                                             I.
11         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant
12   is permanently restrained and enjoined from violating, directly or indirectly,
13   Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15
14   U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5],
15   by using any means or instrumentality of interstate commerce, or of the mails, or
16   of any facility of any national securities exchange, in connection with the purchase
17   or sale of any security:
18         (a)    to employ any device, scheme, or artifice to defraud;
19         (b)    to make any untrue statement of a material fact or to omit to state a
20                material fact necessary in order to make the statements made, in the
21                light of the circumstances under which they were made, not
22                misleading; or
23         (c)    to engage in any act, practice, or course of business which operates or
24                would operate as a fraud or deceit upon any person.
25         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
26   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
27   binds the following who receive actual notice of this Final Judgment by personal
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1    service or otherwise: (a) Defendant’s officers, agents, servants, employees, and
2    attorneys; and (b) other persons in active concert or participation with Defendant
3    or with anyone described in (a).
4                                             II.
5          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED
6    that Defendant is permanently restrained and enjoined from violating Section 17(a)
7    of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the
8    offer or sale of any security by the use of any means or instruments of
9    transportation or communication in interstate commerce or by use of the mails,
10   directly or indirectly:
11         (a)    to employ any device, scheme, or artifice to defraud;
12         (b)    to obtain money or property by means of any untrue statement of a
13                material fact or any omission of a material fact necessary in order to
14                make the statements made, in light of the circumstances under which
15                they were made, not misleading; or
16         (c)    to engage in any transaction, practice, or course of business which
17                operates or would operate as a fraud or deceit upon the purchaser.
18         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
19   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
20   binds the following who receive actual notice of this Final Judgment by personal
21   service or otherwise: (a) Defendant’s officers, agents, servants, employees, and
22   attorneys; and (b) other persons in active concert or participation with Defendant
23   or with anyone described in (a).
24                                            III.
25         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant
26   is permanently restrained and enjoined from violating, directly or indirectly, while
27   acting as an investment adviser, Sections 206(1) and (2) of the Investment
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1    Advisers Act of 1940 (“Advisers Act”) [15 U.S.C. §§ 80b-6(1) and (2)] by using
2    the mails or any means or instrumentality of interstate commerce:
3          (a)    to employ any device, scheme, or artifice to defraud any client or
4                 prospective client; or
5          (b)    to engage in any transaction, practice, or course of business which
6                 operates as a fraud or deceit upon any client or prospective client.
7          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
8    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
9    binds the following who receive actual notice of this Judgment by personal service
10   or otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys;
11   and (b) other persons in active concert or participation with Defendant or with
12   anyone described in (a).
13                                            IV.
14         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant
15   is permanently restrained and enjoined from violating, directly or indirectly, while
16   acting as an investment adviser to a pooled investment vehicle, directly or
17   indirectly, Section 206(4) of the Adviser Act [15 U.S.C. § 80b-6(4)] and Rule
18   206(4)-8 promulgated thereunder [17 C.F.R. § 275.206(4)-8], by using the mails or
19   means or instrumentalities of interstate commerce:
20         (a)    to make untrue statements of material fact or omit to state a material
21                fact necessary in order to make the statements made, in the light of the
22                circumstances under which there were made, not misleading, to any
23                investor or prospective investor in the pooled investment vehicle; or
24         (b)    to engage in acts, practices, or courses of business that are fraudulent,
25                deceptive, or manipulative with respect to any investor or prospective
26                investor in the pooled investment vehicle.
27         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
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1                                   PROOF OF SERVICE
2    I am over the age of 18 years and not a party to this action. My business address
     is:
3
           U.S. SECURITIES AND EXCHANGE COMMISSION,
4          444 S. Flower Street, Suite 900, Los Angeles, California 90071
           Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
5
     On November 8, 2021, I caused to be served the document entitled [PROPOSED]
6    FINAL JUDGMENT AS TO DEFENDANT NTV FINANCIAL GROUP,
     INC. on all the parties to this action addressed as stated on the attached service list:
7
     ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
8    collection and mailing today following ordinary business practices. I am readily
     familiar with this agency’s practice for collection and processing of
9    correspondence for mailing; such correspondence would be deposited with the
     U.S. Postal Service on the same day in the ordinary course of business.
10
            ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed
11   envelope(s), which I personally deposited with the U.S. Postal Service. Each such
     envelope was deposited with the U.S. Postal Service at Los Angeles, California,
12   with first class postage thereon fully prepaid.
13          ☐      EXPRESS U.S. MAIL: Each such envelope was deposited in a
     facility regularly maintained at the U.S. Postal Service for receipt of Express Mail
14   at Los Angeles, California, with Express Mail postage paid.
15   ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to
     the office of the addressee as stated on the attached service list.
16
     ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s)
17   designated by United Parcel Service (“UPS”) with delivery fees paid or provided
     for, which I deposited in a facility regularly maintained by UPS or delivered to a
18   UPS courier, at Los Angeles, California.
19   ☒      ELECTRONIC MAIL: By transmitting the document by electronic mail
     to the electronic mail address as stated on the attached service list.
20
     ☒      E-FILING: By causing the document to be electronically filed via the
21   Court’s CM/ECF system, which effects electronic service on counsel who are
     registered with the CM/ECF system.
22
     ☐     FAX: By transmitting the document by facsimile transmission. The
23   transmission was reported as complete and without error.
24         I declare under penalty of perjury that the foregoing is true and correct.
25    Date: November 8, 2021                    /s/ Douglas M. Miller
26                                              Douglas M. Miller
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1                        SEC v. Richard Vu Nguyen, et al.
            United States District Court—Central District of California
2                       Case No. 8:19-cv-01174-SVW-KES
3                                 SERVICE LIST
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                     Court-Appointed Receiver:
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                     Brandlin & Associates
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